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Cf_EFiK, U.S. Di . JT.
W.D. OF TN, lvlt¢viPHlS

LECTROLARM CUSTOM
SYSTEMS, INC.,

Plaintiff,
v.

NO. 03-2330 Ma/An

VICON INDUSTRIES, INC., et al.,

Defendants.

 

ORDER SETTING STATUS CONFERENCE

 

The Court has received the April 15, 2005 letter of Plaintifl"s counsel regarding
Defendant Bosch Security Systeins, Inc. and the Court’s March 24 and 30, 2005 Orders. Atter
consideration, it is ORDERED that a telephone status conference in this matter should be held
before United States Magistrate Judge S. Thomas Anderson on MONDAY, MAY 2, 2005 at
l 1:00 A.M.

Counsel for the Plaintiff shall initiate the conference call and shall insure that all counsel
of record are on the telephone prior to dialing .ludge Anderson’s chambers in Jackson,
Tennessee.

lT IS SO ORDERED.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: @ O?J/, ZOOJ/
/ f
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Thls document entered on the docket sheet in compliance
Wlth Rule 58 and/or 79{3) FPCP on ”52 ’ §/S/

 

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This notice confirms a copy of the document docketed as number 381 in
case 2:03-CV-02330 Was distributed by faX, mail, or direct printing on
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Honorable Sarnuel Mays
US DISTRICT COURT

